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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                              CRIMINAL NUMBER:
                 v.
                                                              1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC

         Defendant.


 DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S MOTION TO
            STRIKE SURPLUSAGE PURSUANT TO RULE 7(d)

        Pursuant to Federal Rule of Criminal Procedure 7(d), Defendant Concord Management and

Consulting LLC (“Concord” or “Defendant”), through counsel, respectfully moves to strike

unnecessary surplusage in the Indictment. In support of its Motion, Concord states as follows:

        I.      INTRODUCTION

        The Indictment in this case contains many allegations that are inflammatory and do not

relate to any alleged fraud against the United States. Even if the government’s theory of liability

is sound, which it is not, much of what is alleged was not unlawful, and will only serve to prejudice

the jury in favor of the government and against Concord. As such, the portions of the Indictment

discussed below should be stricken.

        II.     LAW & ARGUMENT

        Federal Rule of Criminal Procedure 7(d) provides that “[u]pon the defendant’s motion, the

court may strike surplusage from the indictment or information.” Fed. R. Crim. P. 7(d). “Such

motions are permitted under [Rule 7(d)] . . . ‘if it is clear that the allegations are not relevant to the

charge and are inflammatory and prejudicial.’” United States v. Rezaq, 134 F.3d 1121, 1134 (D.C.

Cir. 1998) (quoting 1 Wright & Miller, Federal Practice & Procedure § 127 (1982)). In defining



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“surplusage,” courts have recognized that “[t]he language of an indictment that goes beyond

alleging the elements of the statute is mere surplusage which need not be proven.” United States

v. Jordan, 626 F.2d 928, 931 (D.C. Cir. 1980); see also United States v. Apodaca, 275 F. Supp. 3d

123, 156 (D.D.C. 2017) (“Consequently, words used to describe essential facts relevant to the

offense are not surplusage subject to being stricken.”). The purpose of Rule 7(d) is to “protect[]

the defendant against immaterial or irrelevant allegations in an indictment . . . which may, however,

be prejudicial.” Fed. R. Crim. P. 7, 1944 Advisory Committee Note.

       All Rule 7(d) requires, therefore, is that the Indictment allege the elements of the § 371

defraud clause conspiracy charge alleged against Concord, which prohibits two or more persons

from “conspir[ing] . . . to defraud the United States.” 18 U.S.C. § 371. Under the government’s

theory, Concord violated § 371 by engaging in a so-called Klein conspiracy, which criminalizes

conspiracies that “interfere with or obstruct one of [the government’s] lawful governmental

functions by deceit, craft or trickery, or at least by means that are dishonest.” United States v.

Klein, 247 F.2d 908, 916 (2d Cir. 1957) (internal quotation marks omitted). Where—as here—“it

is the practice of this Court to provide a copy of the indictment to the jury, inflammatory statements

in the indictment that are not essential to allegations respecting the crimes charged may prejudice

the defendant and should be stricken.” United States v. Hsia, 24 F. Supp. 2d 14, 24 (D.D.C. 1998).1

       When viewed in light of these minimal requirements, much of the Indictment here is pure

hyperbole, as illustrated by its use of language that lists many alleged acts that are both lawful and




1
 Concord assumes that the Court will order the government to redact Counts 2 through 8 from the
copy of the indictment provided to the jury since Concord is not charged in those counts.


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irrelevant to whether or not Concord is guilty of the charged conspiracy. Concord seeks to strike

this as prejudicial surplusage, as discussed below.2

               A.      All references to the political and electoral processes that are broader
                       than the 2016 presidential election

       The Indictment is replete with inflammatory and hyperbolic references to how the purpose

of the alleged conspiracy was to “interfer[e] with the U.S. political and electoral processes.” See,

e.g., Indictment ¶¶ 1-4, 6, 7, 10, 14, 22, 28. This language appears to be aimed at inflaming the

jury’s sentiments by suggesting that the alleged conspiracy involves some broader effort to

undermine the United States political system writ large—even though the specifics of the § 371

charge are aimed only at the 2016 presidential election. Such references will prejudice Concord

by making the jurors believe that a guilty verdict will serve a broader purpose than merely

convicting for the alleged § 371 conspiracy—they will be saving U.S. democracy. That is not the

job of the courts or the criminal justice system. See United States v. Rainey, 946 F. Supp. 2d 518,

545 (E.D. La. 2013) (in prosecution involving a narrow question related to the Deepwater Horizon

oil spill, court struck indictment language invoking the spill as a whole and referencing the number

of individuals killed in the explosion, because the defendant was “not alleged in this case to have

any responsibility for the blow out, the velocity or volume of the oil spill, or the fact that oil

continued to discharge for three months”), rev’d on other grounds, 757 F.3d 234 (5th Cir. 2014).

Similarly, this Court has previously stricken language from an indictment as irrelevant and


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  In the event the Court declines to strike the prejudicial surplusage identified in Concord’s Motion
to Strike, Concord would respectfully request that, in the alternative, the Court decline to provide
the jury with a copy of the Indictment during their deliberations. See United States v. Roy, 473
F.3d 1232, 1237 n.2 (D.C. Cir. 2007) (“[W]hether to permit the jury to have the indictment during
deliberations is [a] decision committed to the [trial] court’s discretion.”) (quoting Dallago v.
United States, 427 F.2d 546, 553 (D.C.Cir.1969)); see also Apodaca, 275 F. Supp. 3d at 157 n.21
(D.D.C. 2017) (“This Judge’s practice is not to provide a stand-alone copy of the indictment to the
jury during deliberations . . . .”) (Howell, C.J.).



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prejudicial where such language referenced a foreign country’s bad acts that were not directly at

issue in the case. See United States v. Quinn, 401 F. Supp. 2d 80, 98-99 (D.D.C. 2005)

(recognizing that jurors reading an indictment “would give improper weight to its references to

[Iran’s support for international] terrorism” and striking that language from the indictment).

       Moreover, the language is irrelevant to the conduct charged in the Indictment. See, e.g.

Hsia, 24 F. Supp. 2d at 27 (recognizing that “[i]t is inappropriate to use potentially inflammatory

language in an indictment when not absolutely necessary,” and granting in part motion to strike

surplusage related to “phrases [that were] unnecessarily inflammatory and their omission would

not essentially alter the substance of the indictment”). The allegations contained in the Indictment

are limited to the 2016 presidential election and the government has made no effort to allege facts

to suggest the alleged conspiracy was aimed more broadly at “electoral processes” or the entire

United States political system. In fact, upon questioning from the Court the government conceded

that allegations against Concord are not broad enough to encompass subsequent conduct. See July

17, 2019 Hr’g Tr. at 31:5-32:4, 53:21-24. Given this concession, any references to the U.S.

political system or to the political processes in the United States, see Indictment at ¶¶ 1-4, 6, 10,

14, 22, 28, do not “essentially alter the substance of the [I]ndictment,” which relates only to the

2016 presidential election, and thus should be stricken. Hsia, 24 F. Supp. 2d at 27.

               B.      References to other crimes

       The Indictment references acts of concealment such as the “Destruction of Evidence”

(Indictment at ¶ 58) and the use of “stolen” identities or “false” personas throughout (id. at ¶¶ 4,

40, 41, 45, 48, 52, 54-56, 57, 61, 62, 67-70, 72-81, 84). Such references should be stricken because

of the risk of confusing the jury by suggesting that the alleged conspiracy involving Concord

included the crimes of obstruction of justice and identity theft. This Court has stricken language

from an indictment where such language “may lead the jury to infer accusations of crimes beyond


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those actually charged.” United States v. Hubbard, 474 F. Supp. 64, 82 (D.D.C. 1979). The

language at issue here goes beyond mere inference—the Indictment contains explicit allegations

related to the “Destruction of Evidence” and the use of a “stolen identity,” both of which are

separate crimes. See 18 U.S.C. § 1510 (related to obstruction of a criminal investigation); 18

U.S.C. § 1028 (related to identity theft). Yet, because the Indictment does not allege either crime

against Concord, any references that could give rise to an inference of other criminal activity are

highly prejudicial.

       As it relates to identity theft, the language in Count One referencing “stolen identities”

threatens to prejudice Concord by confusing the jury. Specifically, other defendants, in Counts

Three through Eight, are charged with aggravated identity theft. Concord is not. By peppering

such language in with the § 371 charge, the government has virtually guaranteed that the jury will

improperly consider the identity theft language as part of the conspiracy.

       Moreover, as it relates to the destruction of evidence, the Indictment makes clear that any

such activity was allegedly undertaken in 2017, and after the appointment of the Special Counsel

and social media companies’ disclosures. See Indictment ¶ 58 (alleging a 2017 email referring to

“covering tracks” after explicitly noting that the media was already reporting that social media

companies were working with the Special Counsel on the Russian government’s efforts to interfere

in the 2016 presidential election). This distinction is important because the destruction was not

alleged to be a part of the overt acts of the conspiratorial agreement. See Hsia, 24 F. Supp. 2d at

26 (recognizing that “[i]f the alleged acts of concealment and cover-up were taken after the original

conspiracy was completed or in furtherance of a subsequent and separate conspiratorial agreement

. . . the acts are neither overt acts in furtherance of the alleged conspiracy charged in the indictment

nor the manner and means of committing the alleged conspiracy”). Here, the Indictment obliquely




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indicates that the destruction of evidence was designed to avoid detection and impede investigation

of “Defendants’ operations,” but the only allegation is a reference to an email alleged to have been

dated September 2017. Ind. ¶ 58(d). At most, this appears to be a separate course of conduct from

the actual defraud clause conspiracy charged, and any reference to these efforts in the Indictment

is unnecessary and prejudicial.

               C.      References to specific 2016 presidential candidates and political groups

       The government also attempts to politicize these proceedings by making repeated

references to then-candidates Donald Trump and Hillary Clinton, see Indictment at ¶¶ 43-45, 46-

48, as well as to contentious political issues, such as immigration, the Black Lives Matter

movement, religion, politically-charged regions within the United States, and references to U.S.

political parties. Id. at ¶¶ 34, 36.3 As with the Indictment’s references to the U.S. political system,

these references are irrelevant to whether Concord and its co-defendants engaged in a § 371

defraud clause conspiracy, but more importantly, they raise a “hot topic” about which people—

including jurors—have strong opinions. See United States v. Singhal, 876 F. Supp. 2d 82, 103

(D.D.C. 2012) (striking references to the “hot topic” of insider trading from indictment where

defendant was not charged with that crime); United States v. Awadallah, 202 F. Supp. 2d 17, 54

(S.D.N.Y. 2002) (striking references in indictment indicating that the defendant possessed pictures



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  The fact that the Indictment identifies statements of both prohibited express advocacy, see
Indictment at ¶ 50 (“Vote Republican, vote Trump . . .”), and permitted issue advocacy, id. at ¶ 47
(“Hillary Clinton has already committed voter fraud during the Democrat Iowa Caucus”) further
demonstrates how the Indictment lacks clarity about what lawful functions of the Federal Election
Commission were allegedly impaired as a result of Concord’s alleged conduct. Given this
imprecision and the jury confusion that could result from it, this Court should strike all such
references. See Fed. R. Crim. P. 7(c)(1) (requiring that a criminal indictment “be a plain, concise,
and definite written statement of the essential facts constituting the offense charged” (emphasis
added)). The government has, in less inflammatory terms, alleged the violations related to the
FEC. See, e.g., Indictment at ¶ 48.



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of Osama bin Laden, recognizing that “[i]t is beyond cavil that this material is highly inflammatory

when our country is currently engaged in a war against terrorism in Afghanistan, a prime purpose

of which is to arrest Osama bin Laden”).

       Moreover, such allegations will only serve to inflame the jury’s partisan interests,

particularly since they suggest that Defendants sought to help then-candidate Donald Trump (and,

by extension, the Republican Party). The jury here will be selected from a geographic area that is

overwhelmingly Democratic and supported Hillary Clinton in the 2016 presidential election. See

https://www.nytimes.com/elections/2016/results/district-of-columbia (reflecting that 90.9% of

voters in the District of Columbia voted for Hillary Clinton, while only 4.1% of voters voted for

Donald Trump). See United States v. Wilson, 565 F. Supp. 1416, 1439-40 (S.D.N.Y. 1983)

(excluding excessive inflammatory detail in an indictment related to other charges pending against

the defendant). As if to increase the odds of inflaming the jury, the Indictment appears to focus

on statements that are untruthful about certain candidates or groups. See, e.g., Indictment ¶¶ 46-

47 (listing statements potentially advocating for Donald Trump and Jill Stein, and against Hillary

Clinton). But these false statements are of no moment to whether Concord engaged in illegal

conduct—indeed, people lawfully lie on the internet every day. These statements do nothing more

than inflame those who may have supported Hillary Clinton.

       Given this, the result of including these statements in the Indictment will be that jurors

(who are likely to be Democrats opposed to President Trump and anyone—including Concord—

who may have allegedly helped him to be elected) will be more likely to convict Concord on the

basis of that opposition, rather than the facts adduced in evidence. This is exactly the type of

prejudicial surplusage Rule 7(d) aims to exclude.




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                 D.    Suggestions that Concord is connected to the Russian government

        In the Indictment the government attempts to draw connections between Concord and the

Russian government without ever actually making the allegation. See ¶ 11 (alleging that Concord

and Concord Catering “are related Russian entities with various Russian government contracts”);

¶¶ 30-31 (suggesting that the co-conspirators engaged in “Intelligence-Gathering” and referencing

efforts to “collect intelligence”). These efforts are designed to portray Concord in a negative light

by trying to connect it to alleged conduct by the Russian government regarding the 2016 election

that is not relevant to the instant Indictment. In fact, the Court has already found that the

Indictment contains no such allegation. See May 28, 2019 Tr. at 4:10-13 (“Concord is correct that

the indictment does not allege that the Russian government sponsored the activities charged in the

indictment.”).

       Such language is particularly inflammatory when viewed in the context of this case, where

other highly-publicized (and inaccurate) statements have similarly tried to draw a connection

between Concord’s alleged activities and the Russian government. See Concord Motion for Order

to Show Cause, ECF No. 129, at 2-7 (listing repeated statements by Attorney General William

Barr, the Mueller Report, and other media outlets purporting to connect the Russian government

to alleged interference in the 2016 presidential election). Despite this Court’s explicit finding that

the Indictment does not allege that the Russian government was involved with the election

interference, (See Mem. Op. at 6, July 1, 2017, ECF No. 148), the language that is in the

Indictment, combined with the public’s general knowledge of the Russian investigation and

Mueller Report, is likely to create the inference that Concord is connected with the Russian

government. Like the other language described above (related to broad efforts to undermine the

U.S. political system and the references to controversial political issues), the efforts to connect

Concord and the Russian government are inflammatory because they prey on jurors’ sense of


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patriotism and national pride, and will encourage a conviction on a basis that is unrelated to

whether Concord (as part of the alleged conspiracy) violated § 371.

       Courts have struck paragraphs from indictments that, like those here, discuss irrelevant and

potentially prejudicial issues. See United States v. Groos, 616 F. Supp. 2d 777, 790 (N.D. Ill.

2008) (striking paragraphs that described a “political climate” between the United States and the

United Arab Emirates that raised concerns about national security); Quinn, 401 F. Supp. 2d 98-99

(striking references to Iran’s support for international terrorism). Here, as in Groos, Concord will

be prejudiced by the false impression created by these allegations that it is somehow connected to

the Russian government, even though it is not. Similarly, in United States v. Weinberger, No. 92-

235, 1992 WL 294877, at *7 (D.D.C. Sept. 29, 1992), this Court expressed concern about

permitting language in an indictment that “could create an atmosphere in the courtroom that

suggests a larger conspiracy, rather than the discrete charges alleged against th[e] defendant.” Id.

(withholding judgment on the motion to strike). Put simply, these efforts to draw a connection

between Concord and a historical geopolitical adversary of the United States are designed to

prejudice Concord and paint it in a negative light by insinuating that it is involved in a larger

conspiracy involving foreign governments—in stark contrast to what is actually charged.

               E.      References to issue advocacy

       Lumped in among the other allegations of purported illegal conduct in the Indictment are

several references to activity that amounts to issue advocacy—as opposed to potentially prohibited

express advocacy—by foreign nationals. See, e.g., Indictment at ¶¶ 34 (discussing thematic group

pages on social media unrelated to specific candidates), 50 (outlining several advertisements that

do not constitute express advocacy). This distinction is important because the paragraphs at issue

largely discuss legal conduct. See generally Concord Motion for Supplemental Bill of Particulars

at 9-11; see also Bluman v. F.E.C., 800 F. Supp. 2d 281, 284 (D.D.C. 2011) (distinguishing


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between prohibited expenditures that expressly advocate the election or defeat of a specific

candidate and permitted expenditures by foreign nationals for issue advocacy). This Court has

rejected language that could potentially confuse jurors about what is actually charged in the

indictment, particularly where the government lumps legal and illegal conduct together without

distinction. See Hubbard, 474 F. Supp. at 83 (“First, the Court finds that the inclusion of legal

means in a list entitled ‘illegal means’ is prejudicial and irrelevant and should be stricken.”).

       Like in Hubbard, the allegations in ¶ 34 relate only to “thematic group pages” that do not

constitute express advocacy. See 52 U.S.C. § 30101(17) (defining independent expenditures as

those expressly advocating the election or defeat of a clearly identified candidate). Similarly,

many of the advertisements listed in ¶ 50 are not express advocacy and as such are not independent

expenditures. For example, the advertisements alleged to have been posted on April 19, 2016,

June 7, 2016, July 20, 2016, and August 10, 2016 are not express advocacy because they contain

no reference to an election or voting. By lumping legal and illegal conduct together, the

government again raises the risk of prejudice by potentially confusing the jury about what Concord

is actually charged with. See Hubbard, 474 F. Supp. at 82.

               F.      Trial demonstrative exhibits

       Paragraph 50 of the Indictment essentially contains a trial demonstrative exhibit that should

be stricken. Including such evidence in the Indictment (which Concord anticipates will be given

to the jury while it deliberates) essentially allows the government to circumvent the rules of

evidence and to put evidence before the jury that may or may not ever be admitted at trial. See

United States v. Smallwood, No. 9-cr-249, 2011 WL 2784434, at *10 (N.D. Tex. July 15, 2011)

(discussing the inclusion of “evidentiary allegations” in an indictment, and recognizing that “[t]he

court can treat as surplusage ‘the allegation of additional facts beyond those which comprise the

elements of the crime’”) (quoting United States v. Valencia, 600 F.3d 389, 432 (5th Cir. 2010)).


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       Moreover, to the extent that evidence of the advertisements compiled in the chart are

admitted as evidence at trial, the statements in the Indictment are redundant and should be

excluded. See Singhal, 876 F. Supp. 2d at 102 (“‘Surplusage’ is defined as ‘redundant words in a

statute or legal instrument’ . . . ” (quoting Black’s Law Dictionary 1581 (9th ed. 2009))); see also

United States v. Hughes, 766 F.2d 875, 879 (5th Cir. 1985) (“The charge in the indictment that

Hughes knew his income asserted a fact that was not one of the elements of the offense. As such

it was redundant, and properly characterized as mere surplusage.”).

       III.    CONCLUSION

       Wherefore the Defendant respectfully requests that the portions of the indictment set forth

above be stricken.

 Dated: October 1, 2019                              Respectfully submitted,

                                                     CONCORD MANAGEMENT AND
                                                     CONSULTING LLC

                                                     By Counsel

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